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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.    11-10049-01-MLB
                                             )
EDILBERTO FIGUEROA-CRUZ,                     )
                                             )
                         Defendant.          )
                                             )

                               MEMORANDUM AND ORDER
         This case comes before the court on defendant’s renewed motion
for     judgment of acquittal. (Doc. 62).              The motion has been fully
briefed and is ripe for decision. (Doc. 63). Following a jury trial,
defendant was convicted on Count 2 of a superceding indictment
charging possession of cocaine with intent to distribute cocaine and
aiding and abetting in violation of 21 U.S.C. § 841(a)(1) and 18
U.S.C. § 2.
I.       Analysis
         Pursuant to Fed. R. Crim. P. 29(a), a defendant may move for
judgment of acquittal at the end of the government's case-in-chief.
Defendant did so in this case and the court orally denied the motion.
Rule 29(a) provides that a defendant may then choose to rest or offer
evidence. If a defendant offers evidence, as he did in this case, the
court then reviews the entire record in order to determine if there
was sufficient evidence for a reasonable jury to find defendant
guilty.      United States v. Delgado-Uribe, 363 F.3d 1077, 1083 (10th
Cir. 2004).         In reviewing the evidence, the court must view all
evidence in the light most favorable to the government. United States
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v. Swanson, 360 F.3d 1155, 1162 (10th Cir. 2004).
                          Sufficiency of the Evidence
     To    prove   that    defendant   possessed     cocaine     with   intent   to
distribute in violation of 21 U.S.C. § 841(a)(1), the government must
show: (1) defendant knowingly or intentionally possessed a mixture or
substance containing a detectable amount of a controlled substance;
(2) the controlled substance was in fact cocaine; (3) defendant
possessed the mixture or substance containing a detectable amount of
cocaine with the intent to distribute it; and (4) the weight of the
mixture or substance containing a detectable amount of cocaine that
defendant possessed was more than 500 grams.
     As to the first element, the jury heard evidence from Trooper
Jason Duffey that defendant was extremely nervous during the traffic
stop.     Trooper Duffey also testified that defendant’s nervousness
continued even after he told defendant that he was not going to issue
him a ticket for driving while suspended.
     Defendant claims that nervousness alone is insufficient evidence
for the jury to conclude that defendant knew and intended to possess
the cocaine. However, Trooper Duffey testified that defendant’s hands
were shaking violently such that he had difficultly removing his
license and identity card from his wallet.                Trooper Duffey asked
defendant if he was ok. Defendant responded, “just nervous.” Trooper
Duffey asked him why he was so nervous and defendant shrugged his
shoulders and responded that he did not know.
     But Trooper Duffey also testified about other suspicious factors
that are commonly found in cases where persons are transporting large
amounts of cocaine.        Trooper Duffey testified that defendant had a

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cell phone in his lap and two more cell phones were in the console.
Additionally, the vehicle that defendant was driving displayed an
Oregon license tag and was registered to Lorenzo Ramos Oveth who
resides in Portland Oregon.     Neither defendant nor the passenger was
the owner. Defendant had a expired California identification card and
Trooper Duffey described defendant’s “Mexican” driver’s license as
displaying a California address.
     Trooper Duffey asked defendant where he and the passenger were
going and defendant answered “Kansas City.”         When asked why they were
going to Kansas City, the passenger answered to look for work.
Trooper Duffey continued to ask both defendant and the passenger about
their plans regarding what type of work they were looking for and
where in Kansas City.       The passenger responded that they were both
unemployed and that they would know where to find work when they
arrived in Kansas City.
     Trooper Duffey issued defendant a warning ticket for driving with
a suspended license.    Defendant said, “thank you.”        As Trooper Duffey
started to walk back to his patrol car, the driver’s door opened and
defendant got out.    Defendant told Trooper Duffey that they were just
switching drivers.
     Based on this evidence, the jury could have inferred that
defendant understood Trooper Duffey’s questions.1
     Trooper Duffey asked for and received consent to search the
vehicle.   Both defendant and the passenger appeared very nervous.
After searching, Trooper Duffey found drugs located in the back of a

     1
       Defendant had an interpreter at trial but this is not evidence
that defendant could not adequately communicate with Trooper Duffey.

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speaker box.
       The court finds that there was sufficient evidence that the jury
could have reasonably inferred that defendant possessed the cocaine
with intent to distribute it and/or aided and abetted his co-
defendant.     Chemist Cynthia Wood testified that the packages found in
the speaker box contained just under 750 grams of a mixture with a
detectable amount of cocaine.        Trooper Duffey also testified that 750
grams of cocaine is a quantity more than for personal use and typical
of persons who intend to distribute the cocaine. Therefore, there was
sufficient evidence as to all four elements that the jury could have
found defendant guilty of the crimes charged.
II.    Conclusion
       Based on the reasons stated herein, defendant’s renewed motion
for judgment of acquittal (Doc. 62) is denied.


       IT IS SO ORDERED.
       Dated this      4th     day of October 2011, at Wichita, Kansas.


                                             s/ Monti Belot
                                             Monti L. Belot
                                             UNITED STATES DISTRICT JUDGE




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